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                                     CONTRATO DE PRESTAMO




        Vicepresidente Ejecutivo de Finandamiento, Jose R. Otero Freirfa, mayor de edad, casado y

        vecino de Dorado, Puerto Rico.

               DE LA SEGUNDA PARTE:                  La AUTORIDAD DE CARRETERAS Y

        TRANSPORTACION DE PUERTO RICO, una entidad juridica, creada en virtud de la

        Ley Num. 74-1965, (la" AUTORIDAD"), seg(m enmendada, representada en este acto por

        Ruben A. Hernandez Gregorat, Director Ejecutivo de la Autoridad y Secretario del

        Departamento de Transportaci6n y Obras Publicas, mayor de edad, casado, y vecino de
                                                                                  7Mth(_,, ;:..
        Guaynabo, Puerto Rico, seg(m autorizado por la Resoluci6n Num:P12·4Dde fecha ~ de
       s .
                                                         de Transportaci6n y Obras Publicas de

        Puerto Ric

                                                    PONEN

                                                  · AD solicit6 una linea de credito por hasta un

                                                uar sus proyectos de mejoras capitales durante el

        primer semestre del Af\o Fiscal 2013.

               POR CUANTO: El 15 de agosto de 2012 la Junta de Directores del BANCO aprob6

        la Resolud6n Num. 9853 para conceder a la AUTORIDAD una linea de credito no

        rotatoria por la cantidad de principal maxima de TREINTA Y TRES MILLONES

        NOVECIENTOS SESENTA MIL D6LARES ($33,960,000), la cual induye las suma de

        TREINTA Y TRES MILLONES DOSCIENTOS SETENTA Y SEIS MIL DOSCIENTOS




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         SETENTA Y DOS D6LARES ($33,276,272) que la AUTORIDAD utilizara para continuar

         sus proyectos de mejoras capitales durante el primer semestre del Afio Fiscal 2013, mas

         SEISCIENTOS OCHENTA Y TRES MIL SETECIENTOS VEINTE Y OCHO D6LARES

         ($683,728) que la AUTORIDAD utilizara para cubrir los cargos por asesorfa financiera y la

         capitalizaci6n de intereses al vencirniento.




         1.1


                                                                  "'""""'=-~·
                                                                                    .rr:.
         en el Artlculo 4.1 de este CONTRATO DE PRESTAMO, el BANCO extendera a la

         AUTORIDAD una LINEA DE CREDITO no rotatoria por la ·cantidad de principal

         maxima de TREINTA Y TRES MILLONES NOVECIENTOS SESENTA MIL D6LARES

         ($33,960,000), la cual incluye las suma de TREINTA Y TRES MILLONES DOSCIENTOS

         SET_ENTA Y SEIS MIL DOSCIENTOS SETENTA Y DOS D6LARES ($33,276,272) que la

         AUTORIDAD utilizara para continuar sus proyectos de mejoras capitales durante el

         primer semestre del Ano Fiscal 2013, mas SEISCIENTOS OCHENTA Y TRES MIL

         SETECIENTOS VEINTE Y OCHO D6LARES ($683,728) que la AUTORIDAD utilizara

         para cubrir los cargos por asesorfa financiera y la capitalizaci6n de intereses al

         vencirniento.




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               La L1NEA DE CREDITO estara evidenciada por un (1) PA ,,: '.~:~~~~-~-~,e
                                                                              ❖ f.   .                    ·., •..• 1)
        $33,960,000 suscrito por la AUTORIDAD en la misma fecha que 1 scriba esteJ~:ONTRATO\
                                                                               /                .   ·,.       '\.""_     11,

        DE PRESTAMO y pagadero a la orden del BANCO.                                 c';,,11                     ; : \ I, ,-
                                                                                                                j ,; .-.t ~

        1.2    Tasa de Interes:

               La AUTORIDAD acuerda y conviene pagar intereses sobre

        principal de la Linea de Credito, calculados sobre una base actual/360 dias, a una tasa

        equivalente a la tasa Prime Rate mas 150 puntos base, la cual nunca sera menor de 6%, o

        la que el Presidente del BANCO o su representante aut?rizado determine, segun el

         mercado de tasas de interes. Los intereses seran capitalizados al vendmiento. Si en la

        fecha de vencimiento de la obligaci6n de repago la AUTORIDAD no ha pagado el

        balance insoluto del principal, la AUTORIDAD pagara intereses sobre dicha suma

        computados a base de 200 puntos base sobre la tasa que le aplicarfa bajo este

        CONTRATO DE PRESTAMO. La AUTORIDAD autoriza al BANCO y le confiere poder,

        sin que se requiera notificaci6n alguna, para aplicar el derecho a compensaci6n (11 set-off1) a

        las obligaciones que se originan en este CONTRATO DE PRESTAMO, realizando

        cualquier aplicaci6n de pagos de cualquier suma de dinero perteneciente a la




        1.3    Termino y Fuente de Pago:

               La LfNEA DE CREDITO sera pagadera el 31 de enero de 2013. Lafuente de pago

        sera futuras emisiones de bonos y productos de futuras alianzas publico privadas al

        igual que ingresos propios.


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         1.4    Desembolsos:

                La AUTORIDAD debera solicitar los desembolsos por escrito, con tres (3) dfas

         laborables de anticipaci6n.    La solicitud de desembolso incluira un formulario de

         certificaci6n (notice of drawing) igual al Anejo A de este Contrato, en el cual el Director

         Ejecutivo de la AUTORIDAD, o la persona que este designe, certificara la necesidad de

         los fondos y la justificad6n para su uso. La AUTORIDAD debera induir, ademas,

         cualquier otra documentaci6n que el BANCO a su entera discreci6n le solicite previo al

         desembolso, incluyendo, pero sin limitarse, a copias de facturas. Los desernbolsos bajo

         este financiamiento estan sujetos al cumplimiento de la AUTORIDAD con el Area de

         Agenda Fiscal para las condiciones estipuladas en el Fiscal Oversight Agreement (FOA)

         que la AUTORIDAD tenga vigente con el BANCO. La gerencia del BANCO asignara un

         auditor externo para verificar los gastos operacionales y autorizar los desembolsos, como

         condici6n para dichos desembolsos.

         1.5    Cargos por Asesoria Finandera:




         intenci6n bajo la regulaci6n del

         Secci6n 1.150-2.




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         2.2    Causa de Incumplimiento:

                La AUTORIDAD notificara al BANCO de cualquier condici6n, hecho o suceso

         que pueda constituir causa de incumplimiento o en virtud de cuya notificad6n o el mero

         transcurso del tiempo, o ambos, pueda constituir causa de incumplimiento,

         entregandole al BANCO una certificaci6n suscrita por uno de sus oficiales, espedficando

         la naturaleza de dicha causa, tiempo durante el cual ha existido, y que curso de acci6n la

         AUTORIDAD se propone inidar con relad6n a los mismos.

         cursada al BANCO dentro de los diez (10) dias si                                        el

         incumplimiento.

         2.3    Pa ode Gestiones Extra'udidales de Cobro Hon

                A requerimiento del BANCO, la AUTORIDAD debera re

         BANCO el pago de las costas, gastos y honorarios de abogados incurridos por el

         BANCO en gestiones extrajudiciales de cobro de cualquier plaza en morn en relad6n con

         la LINEA DE CREDITO adeudada por la AUTORIDAD. La omisi6n de la AUTORIDAD

         de reembolsar dichas costas, gastos y honorarios de abogados constituira causa de

         incumplimiento en la LINEA DE CREDITO.




         PAGARE     y / o Ia   carta   de   compromiso,    sera   considerado    simultaneamente

         incumplimiento con este CONTRATO DE PRESTAMO y viceversa, y de ocurrir el


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        mismo el BANCO tendra inmediatamente el derecho de ejecutar cualesquiera de los

        derechos y privilegios que puedan conferir cualquiera de Ios DOCUMENTOS

        LEGALES.

        2.5   Autorizad6n para TomM Presta.do:




        terminos de este CONTRATO DE PRESTAMO:

              3.1.1   si cualquier representaci6n dada o extendida por la AUTORIDAD al

                      BANCO en cualquiera de los tramites y DOCUMENTOS LEGALES, o si

                      cualquier informe, garantia o certificado financiero o de otra fndole

                      provisto al BANCO en relad6n con este CONTRATO DE PRESTAMO

                      resultare falso o enga:fioso;

              3.1.2   la falta de pago de principal e intereses y sus penalidades, si alguna, de

                      la LINEA DE CREDITO a su fecha de vendmiento de acuerdo con los

                      terminos de cualquiera de los DOCUMENTOS LEGALES;

              3.1,3   el incumplimiento o violaci6n por la AUTORIDAD de cualquiera de los

                      terminos, dausulas y condiciones pactadas con el BANCO en los

                      Articulos 1 y 2 de este CONTRATO DE PRESTAMO; o


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              3.1.4     la omisi6n por la AUTORIDAD de remediar o subsanar dentro de un

                        plazo de treinta (30) dias de su ocurrencia, sin notificaci6n previa escrita

                        por parte del BANCO, cualquier incumplimiento a los terminos,

                        dausulas y condiciones de este CONTRATO DE PRESTAMO. Esto no




        subsanado o remediado seg(m dispuesto, sin que sea necesario que medie notificaci6n

        alguna del incumplimiento, a cuyos derechos Ia AUTORIDAD mediante el presente

        otorgamiento renuncia, el BANCO podra:

              3.2.1   proceder a reclamar el pago del balance insoluto de la LINEA DE

                      CREDITO;

              3.2.2   radicar un procedimiento judicial solicitando el cumplimiento especifico

                      de cualquier termino, dausula o condici6n de cualquiera de los

                      DOCUMENTOS LEGALES, o un entredicho ("injunction") provisional o

                      permanente para impedir que la AUTORIDAD viole cualquiera de dichos




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         4.1   Documentos Legales:
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                                    en   este   CONTRATO        DE    PRESTAMO,      el   termino

                           EGALES significa:
                          't
                           ~GARE

                          }~NTRATO DE PRESTAMO

                                            as Tolerancias    Remedios Adicionales:

                Ninguna dilaci6n o demora por parte del BANCO o de cualquier tenedor o

         duefio de! PAGARE en el ejerddo de cualquier derecho, facultad o remedio que pueda

         tener conforme a los terminos de cualquiera de los DOCUMENTOS LEGALES se

         considerara corno una renuncia, lirnitaci6n o disminud6n de los rnisrnos, corno tarnpoco

         el ejercicio parcial o exdusivo de cualquiera de los rnisrnos sera 6bice para que

         subsiguientemente sean ejercitados en su totalidad, induyendo, pero sin limitarse a ello,

         el derecho de compensad6n.       Los rernedios a favor del BANCO dispuestos en los

         DOCUMENTOS LEGALES se consideraran adidonales a, y no excluyentes de, cualquier

         otro remedio contemplado en ley. Para que todo alivio, pr6rroga o tolerancia extendida

         por el BANCO a la AUTORIDAD, o cualquier enmienda a este CONTRATO DE

         PRRESTAMO, sea efectiva, debera constar por escrito suscrito por un oficial autorizado

         del BANCO, que especificara el alcance del alivio, pr6rroga, tolerancia o enmienda

         concedida.   Todo alivio, pr6rroga, tolerancia o enmienda concedida sera valida

         (micarnente para la ocurrencia o eventualidad para la cual se concedi6.




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         4.3    Direcciones para NotHicadones, etc.:

                Toda notificaci6n, redamo, directriz o cualquier comunicaci6n dispuesta por las

         DOCUMENTOS LEGALES constara por escrito y debera ser en .,

         enviada por fax o por correo, a las siguientes direcciones:

                A LA   II   AUTORIDAD":

                Autoridad de Carreteras y Transportaci6n
                Departamento de Transportaci6n y Obras Ptiblicas
                P.O. Box 42007
                San Juan, Puerto Rico 00940-2007
                (787) 721-8787

                A tenci6n: Director Ejecu tivo

                AL "BANCO":




                Atend6n: Presidente

         o a cualquier otra direcd6n que las partes sefialen mediante notificaci6n escrita cursada

         conforme a lo dispuesto en este Artfculo. Estas se consideraran perfeccionadas una vez

         las mismas se depositen debidamente franqueadas en el correo y sean cursadas a las

         direcciones mencionadas.

         4.4    Sucesores y Causahabientes:

                Los pactos y dausulas aquf contenidas obligaran y beneficiaran a las partes ya

         sus respectivos causahabientes, albaceas, administradores, sucesores y cesionarios.

         4.5   Renuncias por Ia AUTORIDAD a Presentaci6n, Protesto, etc.:

               La AUTORIDAD renuncia a toda notificaci6n de aceptaci6n o demanda o

         requerimiento a la realizaci6n de cualquier condici6n precedente por parte del BANCO,

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                y asi mismo renuncia a los derechos de presentaci6n, protesto, notificaci6n de protesto,

                requerimiento de pago, notificad6n de incumplimiento o falta de pago, relevo,

                compromiso, compensaci6n, transacci6n, pr6rroga, renovaci6n o extensi6n de cualquier

                derecho contractual o instrumento legal y, en general, a toda otra formalidad legal.

                            EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan este

                CONTRATO DE PRESTAMO, en San Juan, Puerto Rico, hoy _l2=_ de septiembre de 2012.

                BANCO GUBERNAMEN TAL DE                            AUTORIDAD DE CARRETERAS Y
                FOMENTO PARA PUERTO RICO                           TR   PORTACI6N DE PUERTO RICO



               Jose                                                Ru en Hernandez Gregorat
               Vice                       ecutivo                  Director Ejecutivo
                                                                   Secretario, Departamento de Transportaci6n
                                                                    y Obras Publicas de Puerto Rico
               Testimonio 1D:J.A _.

                            Reconocido y suscrito ante mi por Ruben Hernandez Gregorat, mayor de edad,
    ~ \: [~I§               ejecutivo y vecino de San Juan, Puerto Rico, en su caracter de Director Ejecutivo de
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    ,.,,                  r
                                ad de Carreteras y Transportaci6n de Puerto Rico, y Secretario del
                                 to de Trasportaci6n y Obras Publicas de P_uerto Rico, a quien conozco
                                                                                              tu.~~,
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                           £   ~ Juan, Puerto Rico, a _k_ de septiembre de 2012.                       cm 11J_
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           '~, Te~timonio J__p_!f_ -

                             Reconocido y suscrito ante mi por Jose R. Otero Freida, mayor de edad, casado, y
                          o de Dorado, Puerto Rico, en su caracter de Vicepresidente Ejecutivo de
                          · · iento del Banco Gubernamental de Fomento para Puerto Rico, a quien conozco
                               .e   .

                                        JI. , Puerto Rico, a J.1:_ de septiembre de 2012.



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                      PRIMERA ENMIENDA A CONTRATO DE PRESTAMO

                                            COMPARECEN

               DE LA PRIMERA PARTE:           El BANCO GUBERNAMENTAL DE FOMENTO

       PARA PUERTO RICO, una instituci6n bancaria organizada y existente a tenor con la Ley

       Num. 17, aprobada el 23 de septiembre de 1948, segu:n enmendada, (el 11 BANC011 ),

       representado en este acto por Ian J. Figueroa Toro, Vicepresidente Ejecutivo y Director de

       Financiamiento, mayor de edad, casado, ejecutivo y residente de San Juan, Puerto Rico.

               DE   LA   SEGUNDA        PARTE:       La   AUTORIDAD      DE    CAR.RETERAS        Y

       TRANSPORTACION DE PUERTO RICO, una entidad juridica creada en virtud de la

       Ley Num. 74 de 23 de junio de 1965, segun enmendada, (la "AUTORIDAD") representada

       en este acto por Javier E. Ramos Hernandez, Director Ejecutivo de la AUTORIDAD, mayor

       de edad, casado, ingeniero y vecino de Bayamon, Puerto Rico.

               A menos que un termino escrito en letras mayusculas sea definido de otra forma en

       esta PRIMERA ENMIENDA AL CONTRATO DE PRESTAMO, el mismo tendra el

       significado adscrito en el CONTRATO DE PRESTAMO segu:n se define mas adelante.

                                                EXPONEN

               POR CUANTO: El 15 de agosto de 2012, la Junta de Directores del BANCO aprob6

       la Resoluci.6n Num. 9853 para conceder a la AUTORIDAD una linea de credito no rotatoria

       por la cantidad maxima de TREINTA Y TRES MILLONES NOVECIENTOS SESENTA MIL

       DOLARES ($33,960,000) para continuar sus proyectos de mejoras capitales durante el

       primer semestre del Afio Fiscal 2013, asi como cubrir los cargos por asesoria financiera y la

       capitalizaci6n de intereses al vencimiento.



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                       POR CUANTO: De conformidad con lo anterior, la AUTORIDAD y el BANCO

               suscribieron un Contrato de Prestamo (el "CONTRATO DE PRESTAMO"), efectivo al 12 de

               septi.embre de 2012, mediante el cual se concedi6 a la AUTORIDAD una LINEA DE

               CREDITO no rotati.va por la suma maxima de TREINTA Y TRES MIT.LONES

               NOVECIENTOS SESENTA MIL DOLARES ($.33,960,000)1 la cual incluy6 $33,276,272 para

               continuar con los proyectos de mejoras capitales dUiante el primer semestre del Ano Fiscal

               2013 y $683,728 para cubrir los cargos por asesoria financiera y la capitalizaci6n de intereses

               al vencimiento. En la misma fecha de otorgamiento del CONTRATO DE PRESTAMO, la

               AUTORIDAD suscribi6 un PAGARE por la suma de TREINTA Y TRES MILLONES

               NOVECIENTOS SESENTA MIL DOLARES ($33,960,000) a la orden del BANCO y con

               vencimiento el 31 de enero de 2013.

                       POR CUANTO: Al 31 de diciembre de 2012, el balance de principal de la

               LINEA DE CREDITO asciende a $1,136,317.65 con intereses acmnulados por la

               cantidad de $1,466.32.

                       POR CUANTO:          La gerencia del BANCO ha recomendado enmendar la

               LINEA DE CREDITO con el prop6sito de extender el vencimiento y el repago de

               intereses acumulados hasta el 31 de enero de 2014.

                       POR CUANTO: La Junta de Directores del BANCO ha autorizado mediante la

               Resoluci6n Num. 9957 adoptada en reuni6n celebrada el 17 de enero de 2013,

               enmendar el CONTRATO DE PRESTAMO a los fines de extender la fecha de

               vencimiento hasta el 31 de enero de 2014 y establecer el pago de honorarios por
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               asesoria financiera, entre otros terminos y condiciones.
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               POR CUANTO: De conformidad con la Resoluci6n N-um. 2013-10 emitida el

       31 de enero de 2013 por Miguel A. Torres Dias, Secretario del Departamento de

       Transportad6n y Obras Publicas del Puerto Rico, la AUTORIDAD ha aceptado los

       terminos y condiciones establecidos por el BANCO para la presente enmienda.

               POR LO TANTO, en consideraci6n a los hechos afumados anteriormente, ya las

       representaciones, acuerdos y garantias que mas adelante se exponen, las partes

       comparecientes:

                                   ACUERDAN Y CONVIENEN

               PRIMERO: Se enmienda la primera oraci6n de la Secci6n 1.3 del Artfculo 1

       del CONTRATO DE PRESTAMO para que lea como sigue:

               "La LINEA DE CREDITO :mas los intereses capitalizados seran pagaderos
               el 31 de enero de 2014."


               SEGUNDO: La AUTORIDAD reconoce, conviene y acepta pagar al BANCO

       honorarios por servicios de asesorfa financiera igual a una veinticincoava (1 / 25)

       parte del uno por ciento (1 %), para un total de Trece Mil Quinientos Ochenta y

       Cuatro D6lares ($13,584) correspondientes a esta transacci6n y segun la polftica

       vigente del BANCO.

               TERCERO: En esta misma fecha, la AUTORIDAD suscribe y otorga un

       documento titulado PRIMERA ENMIENDA A PAGARE ("ALLONGE").                           Este

       ALLONGE se hara formar parte del PAGARE original suscrito por la AUTORIDAD,

       con el prop6sito de incorporar los acuerdos y enmiendas aqui consignadas.




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                       CUARTO: Esta PRIMERA ENMIENDA AL CONTRATO DE PRESTAMO y su

               ALLONGE no constituyen una novaci6n de las obligaciones de la AUTORIDAD bajo el

               CONTRATO DE PRESTAMO y PAGA.RE, segun aqui enmendados. Todos los demas

               terminos y condiciones y del CONTRATO DE PRESTAMO y el PAGA.RE que no

               contravengan lo aqui acordado, permaneceran inalteradas yen pleno vigor.

                       QUINTO: Esta PRIMERA ENM.IENDA AL CONTRATO DE PRESTAMO se

               suscribe de conformidad con la Resoluci6n 9957 adoptada por la Junta de Directores del

               BANCO el 17 de enero de 2013, la cual se aprob6 coma una dedaraci6n de intenci6n

               bajo la Secci6n 1.150-2 de la regulaci6n del Departamento del Tesoro Federal (U.S.

               Treasury Department Regulation Section 1.150-2).

                                              [FIRMAS A CONTINUACIO N]




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                         EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

                 PRIMERA ENMIENDA A CONTRATO DE PRESTAMO en San Juan, Puerto Rico,

                 a   \:b de marzo de 2013.
                 BANCO GUBERNAMEN TAL DE                   AUTORIDAD DE CARRETERAS Y
                 FOMENTO PARA PUERTO RICO                  TRANSPORTAC ION DE PUERTO RICO



                                                             Javier E. Ramos
                                                     ,, . / / Director Ejecutivo


                 Testi.monio -:f-82-

                        Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad,
                 casado, ingeniero y vecino de Bayamon, Puerto Rico, en su caracter como Director Ejecutivo
                 de la Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco
                 personalmente.

                                        rto Rico, a / 3 de marzo de 2013.




                 Testimonio   J?Jl/
                        Reconocido y suscrito ante mi por Ian J. Figueroa Toro, mayor de edad, casado y
                 vecino de San Juan, Puerto Rico, en su caracter de Vicepresidente Ejecutivo y Director de
                 Financiamiento del Banco Gubernamental de Fomento para Puerto Rico, a quien conozco
                 personalmente.

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                      EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

              PRIMERA ENMIENDA A CONTRATO DE PRESTAMO en San Juan, Puerto Rico,

              a   \:,:b de marzo de 2013.
              BANCO GUBERNAMENTAL DE                       AUTORIDAD DE CARRETERAS Y
              FOMENTO PARA PUERTO RICO                     TRANSPORTACI6N DE PUERTO RICO



                                                          ~ vier E. Ramos        ez
                                                      /   Director Ejecuti.vo


              Testimonio 1-82..

                     Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad,
              casado, ingeniero y vecino de Bayam6n, Puerto Rico, en su caracter como Director Ejecutivo
              de la Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco
              personalmente.

                                      rto Rico, a --1.:!L de marzo de 2013.




              Testimonio   J~t/
                     Reconocido y suscrito ante mf por Ian J. Figueroa Toro, mayor de edad, casado y
              vecino de San Juan, Puerto Rico, en su caracter de Vicepresidente Ejecutivo y Director de
              Financiamiento del Banco Gubernamental de Fomento para Puerto Rico, a quien conozco
              personalmente.

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                   SEGUNDA ENMIENDA A CONTRATO DE PRESTAMO

                                         COMPARECEN

              DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO

     PARA PUERTO RICO, una institud6n bancaria organizada y existente a tenor con la

     Ley Num. 17, aprobada el 23 de septiembre de 1948, segun enmendada (el "BANCO"),

     representado en este acto por Jose Pagan Beauchamp, Presidente Interino, mayor de

     edad, casado y residente de Guaynabo, Puerto Rico.

              DE LA SEGUNDA PARTE: La AUTORIDAD DE CARRETERAS Y

     TRANSPORTACION DE PUERTO RICO, una entidad juridica creada en virtud de la

     Ley Num. 74 de 23 de junio de 1965, segun enmendada (la "AUTORIDAD"),

     representada en este acto por Javier E. Ramos Hernandez, Director Ejecutivo, mayor de

     edad, casado y vecino de Bayamon, Puerto Rico.

              A menos que un termino escrito en letras mayusculas liea definido de otra forma

      en esta Segunda Enmienda a Contrato de Prestamo (la "SEGUNDA ENMIENDA AL

      CONTRATO DE PREST AMO"), el mismo tendra el signilicado adscrito en el

      CON1RATO DE PRESTAMO segun se define mas adelante.

                                            EXPONEN

              POR CUANTO: El 15 de agosto de 2012, la Junta de Directores del BANCO

      aprob6 la Resoluci6n Num. 9853 para conceder a la AUTORIDAD una lmea de credito

      no rotatoria por la cantidad maxima de TREINTA Y TRES :MILLONES NOVECIENTOS

      SESENTA :MIL DOLARES ($33,960,000) para continuar sus proyectos de mejoras




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     capitales durante el primer semestre del Afio Fiscal 2013, asf como cubrir los cargos por

     asesoria financiera y la capitalizaci6n de intereses al vencimiento.

              POR CUANTO: De conformidad con lo anterior, la AUTORIDAD y el BANCO

     suscribieron un Contrato de Prestamo (el "CONTRATO DE PRESTAMO"), efectivo al

     12 de septiembre de 2012, mediante el cual se concedi6 a la AUTORIDAD una LINEA

     DE CREDITO no rotativa por la sum.a maxima de $33,960,000, Ia cual incluy6

     $33,276,272 para continuar con los proyectos de mejoras capitales durante el primer

     semestre del Ano Fiscal 2013 y $683,728 para cubrir los cargos por asesoria financiera y

     la capitalizaci6n de intereses al vencimiento. En la misma fecha de otorgamiento del

     CONTRATO DE PRESTAMO, la AUTORIDAD suscribi6 un PAGARE por la suma

     de $33,960,000 a la orden del BANCO y con vencimiento el 31 de enero de 2013.

              POR CUANTO: El 13 de marzo de 2013, el BANCO y la AUTORIDAD

     suscribieron una Primera Enmienda a Contrato de Prestamo a los fines de extender el

     vencimiento y el repago de intereses acumulados hasta el 31 de enero de 2014. En

      esa misma fecha, la AUTORIDAD suscribi6 una Primera Enmienda a Pagare

      (" Allonge") para incorporar dichas enmiendas.

              POR CUANTO: Durante el mes de diciembre de 2012, la AUTORIDAD y

      Societe Generale efectuaron dos transacciones que generaron la cantidad de

      $23,423,637.50, la cual tiene que ser utilizada para cubrir costos de proyectos de

      mejoras capitales de la AUTORIDAD.

              POR CUANTO:         En vista de lo anterior, la gerencia del BANCO ha

      recomendado reducir el financiamiento provisto a la AUTORIDAD por una cantidad


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      de $23,423,637.50 y enmendar la LINEA DE CREDITO con el prop6sito de establecer

      que la cantidad maxima autorizada para la misma sea de $10,536,362.50.

              POR CUANTO: Al 10 de junio de 2013, el balance de principal de la

      LINEA DE CREDITO asciende a $4,459,780.91 con intereses acumulados por la

      cantidad de $59,207.99.

              POR CUANTO: La Junta de Directores del BANCO ha autorizado mediante

      la Resoluci6n Num. 10077 adoptada en reunion celebrada el 19 de junio de 2013,

      enmendar el CONTRATO DE PRESTAMO a los fines de reducir la cantidad maxima

      autorizada para la LINEA DE CREDITO y establecer que la cantidad maxima

      autorizada bajo la misma sera de $10,536,362.50, entre otros terminos y condiciones.

              POR CUANTO: De conformidad. con la Resoluci6n Num. 2013-35 emitida el

      16 de agosto de 2013 por la Junta de Directores de la AUTORIDAD, la AUTORIDAD

      ha aceptado los terminos y condiciones establecidos por el BANCO para la presente

      enmienda.

              POR LO TANTO, en consideraci6n a los hechos afirmados anteriormente, ya

      las representaciones, acuerdos y garantias que mas adelante se exponen, las partes

      comparecientes:

                                 ACUERDAN Y CONVIENEN

              PRIMERO: Se enmienda la Secci6n 1.1 del Articulo 1 del CONTRATO DE

      PREST AMO para que disponga como sigue:

              "Una vez se otorguen y suscriban los DOCUMENTOS LEGAL.ES que se
              reladonan en el Articulo 4.1 de este CONTRATO DE PRESTAMO, el
              BANCO extendera a la AUTORIDAD una LINEA DE CREDITO no


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            EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

      SEGUNDA ENMIENDA A CONTRATO DE PRESTAMO en San Juan,

      Puerto Rico, a /0 de septiembre de 2013.


      BANCO GUBERNAMENTAL DE                 AUTORIDAD DE CARRETERAS Y
      FOMENTO PARA PUERTO RICO               TRANSPORTACION DE PUERTO RICO




      J~gan Beaucilamp                        vier E. Ramos He
      Presidente Interino                    Director Ejecutivo


      Testimonio .22l_

            Reconocido y suscrito ante mi por Javier E. Ramos Hernandez~ mayor de edad,
      casado y vecino de Bayamon, Puerto Rico, en su caracter como Director Ejecutivo de la
      Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco
                        San Juan, Puerto Rico, a ID de septiembre de 2013.



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                    TERCERA ENMIENDA A CONTRATO DE PRESTAMO

                                          COMPARECEN

              DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO

      PARA PUERTO RICO, una instituci6n bancaria organizada y existente a tenor con la

      Ley Num. 17, aprobada el 23 de septiembre de 1948, segun enmendada (el "BANCO"),

      representado en este acto por Jorge A. OiviHes Diaz, Vicepresidente Ejecutivo y

      Agente Fiscal, mayor de edad, casado y residente de San Juan, Puerto Rico.

              DE LA SEGUNDA PARTE: La AUTORIDAD DE CARRETERAS Y

      TRANSPORTACION DE PUERTO RICO, una entidad juridica creada en virtud de la

      Ley Num. 74 de 23 de junio de 1965, segun enmendada (la "AUTORIDAD"),

      representada en este acto por Javier E. Ramos Hernandez, Director Ejecutivo, mayor de

      edad, casado y vecino de Bayamon, Puerto Rico.

              A menos que un termino escrito en letras mayusculas sea definido de otra forma

      en esta Tercera Enmienda a Contrato de Prestamo (la "TERCERA ENMIENDA AL

      CONTRATO DE PRESTAMO"), el mismo tendra el significado adscrito en el

      CONTRATO DE PRESTAMO, segun enmendado y definido mas adelante.

                                             EXPONEN

              POR CUANTO: El 15 de agosto de 2012, la Junta de Directores del BANCO

      aprob6 la Resoluci6n Num. 9853 para conceder a la AUTORIDAD una linea de credito

      no rotatoria por la cantidad maxima de $33,960,000 para continuar sus proyectos de

      mejoras capitales durante el primer semestre del Ano Fiscal 2013, asf como cubrir los

      cargos por asesorfa financiera y la capitalizaci6n de intereses al vencimiento.


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              POR CUANTO: De confonnidad con lo anterior, la AUTORIDAD y el BANCO

      suscribieron un Contrato de Prestamo (el "CONTRATO DE PRESTAMO"), efectivo al

      12 de septiembre de 2012, mediante el cual se concedi6 a la AUTORIDAD una LINEA

      DE CREDITO no rotativa por Ia suma maxima de $33,960,000, la cual induy6

      $33,276,272 para continuar con los proyectos de mejoras capitales durante el primer

      semestre del Afio Fiscal 2013 y $683,728 para cubrir los cargos por asesoria financiera y

      la capitalizaci6n de intereses al vencimiento. En la misma fecha de otorgamiento del

      CONTRATO DE PRESTAMO, la AUTORIDAD suscribi6 un PAGARE por la suma

      de $33,960,000 a la orden del BANCO y con vencimiento el 31 de enero de 2013.

              POR CUANTO: El 13 de marzo de 2013, el BANCO y la AUTORIDAD

      suscribieron una Primera Enmienda a Contrato de Prestamo a los fines de extender el

      vencimiento y el repago de intereses acumulados hasta el 31 de enero de 2014. En

      esa misma fecha, la AUTORIDAD suscribi6 una Primera Enmienda a Pagan".!

      (" Allonge") para incorporar dichas enmiendas.

              POR CUANTO: Durante el mes de diciembre de 2012, Ia AUTORIDAD y

      Societe Generale efectuaron dos transacciones que generaron la cantidad de

      $23,423,637.50 a utilizarse s6lo para cubrir costos de proyectos de mejoras capitales

      de la AUTORIDAD.

              POR CUANTO: En vista de lo anterior, el 10 de septiembre de 2013, el

      BANCO y la AUTORIDAD suscribieron una Segunda Enmienda a Contrato de

      Prestamo para reducir el financiamiento provisto a la AUTORIDAD por una

      cantidad de $23,423,637.50 y enmendar Ia LINEA DE CREDITO con el prop6sito de


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      establecer la cantidad maxima autorizada en $10,536,362.50. En esa misma fecha, la

      AUTORIDAD suscribi6 una Segunda Enmienda a Pagan~ (" Allonge") para

      incorporar dichas enmiendas.

              POR CUANTO: Al 31 de octubre de 2013, el balance de principal de la

      LINEA DE CREDITO asciende a $7,898,217.35 con intereses acumulados por la

      cantidad de $213,557.40.

              POR CUANTO: La AUTORIDAD ha solicitado, y la gerencia del BANCO ha

      recomendado, enmendar la LINEA DE CREDITO con el prop6sito de extender el

      vencimiento de la misma hasta el 31 de enero de 2015.

              POR CUANTO: La Junta de Directores del BANCO ha autorizado mediante la

      Resoluci6n Num. 10197 adoptada en reunion celebrada el 20 de noviembre de 2013,

      enmendar el CONTRATO DE PRESTAMO a los fines de extender la fecha de

      vencimiento hasta el 31 de enero de 2015 y requerir el pago de honorarios por

      asesoria financiera, entre otros terminos y condiciones.

              POR CUANTO: De conformidad con la Resoluci6n Num. 2014-04 emitida el

      30 de enero de 2014 por la Junta de Directores de la AUTORIDAD, la AUTORIDAD

      ha aceptado los terminos y condiciones establecidos por el BANCO para la presente

      enmienda.

              POR LO T ANTO, en consideraci6n a los hechos afirmados anteriormente, y a

      las representaciones, acuerdos y garantias que mas adelante se exponen, las partes

      comparecientes:




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                                 ACUERDAN Y CONVIENEN

              PRIMERO: Se enmienda la primera oraci6n de la Secci6n 1.3 del Articulo 1

      del CONTRATO DE PRESTAMO, segun enmendado, para que lea como sigue:

              "La LlNEA DE CREDITO mas los intereses capitalizados seran pagaderos
              el 31 de enero de 2015."


              SEGUNDO: La AUTORIDAD reconoce, conviene y acepta pagar al BANCO

      honorarios por servicios de asesoria financiera igual a una veinticincoava (1/25)

      parte del uno por ciento (1 %), para un total de Cuatro Mil Doscientos Catorce

      D6lares con Cincuenta y Cinco Centavos ($4,214.55) correspondientes a esta

      transacci6n y segun la polftica vigente del BANCO.

              TERCERO:     En esta misma fecha, la AUTORIDAD suscribe y otorga un

      documento titulado TERCERA ENMIENDA A P AGARE (" ALLONGE").                    Este

      ALLONGE se hara formar parte del PAGARE original suscrito por la AUTORIDAD,

      segun enmendado, con el prop6sito de incorporar los acuerdos y enmiendas aqui

      consignadas.

              CUARTO: Esta TERCERA ENMIENDA AL CONTRATO DE PRESTAMO y su

      ALLONGE no constituyen una novaci6n de las obligaciones de la AUTORIDAD bajo el

      CONTRATO DE PRESTAMO y PAGARE, segun enmendados. Todos los demas

      terminos y condiciones del    CONTRATO DE PRESTAMO y el PAGARE, segun

      enmendados, que no contravengan lo aqui acordado, permaneceran inalteradas y en

      pleno vigor.




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              QUINTO: Esta TERCERA ENMIENDA AL CONTRATO DE PRESTAMO se

      suscribe de conformidad con la Resoluci6n 10197 adoptada por la Junta de Directores

      del BANCO el 20 de noviembre de 2013, la cual se aprob6 como una dedaraci6n de

      intenci6n bajo la Secci6n 1.150-2 de la regulaci6n del Departamento del Tesoro Federal

      (U.S. Treasury Department Regulation Section 1.150-2).



                                 [FIRMAS EN LA SIGUIENTE PAGINA]




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                 EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

         TERCERA ENMIENDA A CONTRATO DE PRESTAMO en San Juan, Puerto Rico,

         a -3.L de enero de 2014.


         BANCO GUBERNAMENTAL DE                       AUTORIDAD DE CARRETERAS Y
         FOMENTO PARA PUERTO RICO                     TRANSPORTACI6N DE PUERTO RICO




         J                                             vier E. Ramos H
         V    --....::===--- e Ejecutivo              Director Ejecutivo
         y Agente Fiscal


              .   . (fo1-
         T estimomo _ _

                 Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad,
         casado y vecino de Bayamon, Puerto Rico, en su caracter como Director Ejecutivo de la
         A mti_dad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco
             - ..,    te. En San Juan, Puerto Rico, a 31 de enero de 2014.
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                     CUARTA ENMIEND A A CONTRA TO DE PRESTAM O

                                          COMPARECEN

               DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO

      PARA PUERTO RICO, una corporaci6 n publica e instrwnen talidad del Esta.do Libre

      Asociado de Puerto Rico creada en virtud de la Ley Num. 17, aprobada el 23 de

      septiembre de 1948, segun enmendad a (el "BANCO"), representa do en este acto por

      Jorge A. Clivilles Diaz, Vicepresid ente Ejecutivo y Agente Fiscal, mayor de edad,

      casado y residente de San Juari, Puerto Rico.

               DE LA SEGUND A PARTE: La AUTORID AD DE CARRETERAS Y

      TRANSPO RTACION            DE    PUERTO         RlCO,   una   corporaci6 n   publica   e


      instrumen talidad del Estado Libre Asociado de Puerto Rico creada en virtud de la

       Ley Num. 74 de 23 de junio de 1965, segun erunendada (la '' AUTORIDAD"),

       representa da en este acto por Carmen A Villar Prados, Directora Ejecutiva, mayor de

       edad, casada y vecina de Guaynabo , Puerto Rico.

               A menos que un tennino escrito en letras maya.sculas sea definido de otra forma

       en esta Cuarta Enmienda a Contrato de Prestamo (la "CUARTA ENMIEND A AL

       CONTRATO DE PRESTAMO"), el mismo tendra el significado adscrito en el

       CON1RAT O DE PRESTAMO, segun erunendad o y definido mas adelante.

                                             EXPONEN

               POR CUANTO: El 15 de agosto de 2012, la Junta de Directores del BANCO

       aprob6 la Resoluci6n Num. 9853 para conceder a la AUTORIDAD una linea de credito

       no rotatoria por la cantidad maxima de $33,960,000 para continuar sus prqyectos de


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                                                                                          cubrir los
      mejora s capital es durant e el primer semest re <l:el Afio Fiscal 2013, asf como

      cargos por asesoria financiera y la capitalizaci6n de intereses al vencim iento.
                                                                                                     O
                POR CUANTO: De confor midad con lo anterior, la AUTORIDAD y el BANC
                                                                                     ), efectivo al
      suscrib ieron un Contra to de Prestam o (el "CONT RATO DE PRESTAMO"
                                                                                          CREDITO
      12 de septiem bre de 2012, conced iendo a la AUTORIDAD una L1NEA DE
                                                                              ,272 para
      no rotativ a por la suma maxim a de $33,960,000, la cual incluyo $33,276
                                                                                                 re del
      contin uar con los proyec tos de mejoras capitales durant e el primer semest

       A:fio Fiscal 2013 y $683,728 para cubrir los cargos por asesorfa financiera
                                                                                                  y la

                                                                                miento del
       capitalizaci6n de interes es al vencimiento. En la misma fecha de otorga

       CONT RATO DE PRESTAMO, la AUTORIDAD suscrib i6 un PAGA RE por
                                                                                            Ia suma

                                                                                         2013.
       de $33,960,000 a la orden del BANC O y con vencim iento el 31 de enero de

                POR CUANTO: El 13 de marzo de 2013, el BANC O y la AUTORIDA_D
                                                                                         extend er el
       suscrib ieron una Primer a Erunie nda a Contra to de Presta mo a los fines de
                                                                                           2014. En
       vencim iento y el repago de interes es acumu lados hasta el 31 de enero de
                                                                                           a Paga,re
       esa misma fecha, la AUTORIDAD suscrib i6 una Primer a Enmie nda

       (" Allonge") para incorp orar dichas enmien das.

                 POR CUANTO: Duran te el mes de diciem bre de 2012, la AUTO RIDAD
                                                                                  y

                                                                                   de
       Societe Generale efectu aron dos transac ciones que genera ron la cantid ad
                                                                                    s capital         es
       $23,423,637.50 a utiliza rse s6lo para cubrir costos de proyec tos de mejora

       de la AUTORIDAD.
                                                                                                      el_
                 POR CUANTO: En vista de lo anterio r, el 10 de septiem bre de 2013,
                                                                                                  to de
        BANC O y la AUTORIDAD suscrib ieron una Segun da Enrnie nda a Contra


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Case:17-03283-LTS Doc#:18815-6 Filed:10/27/21 Entered:10/27/21 09:09:47            Desc:
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       Prestam o para reducir el financiamiento provisto a la AUTORIDAD par una

       cantida d de $23,423,637.50 y enmend ar la LfNEA DE CREDITO con el prop6sito de

       establecer la cantida d maxima autoriz ada en $10,536,362.50. En esa misma fecha, la

       AUTORIDAD suscribi6 una Segund a Enmien da a Pagare (" Allonge") para

       incorpo rar dichas enmien das.

                POR CUANTO: El 31 de enero de 2014, el BANCO y la AUTORIDAD

       suscribieron una Tercera Hrunienda a Contrato de Prestamo a los fines de extender el

       vencim iento y el repago de intereses acumul ados hasta el 31 de enero de 2015. En

       esa misma fecha, la AUTORIDAD suscribi6 una Tercera Enmien da a Pagan§

       (" Allonge") para incorpo rar dichas enmiendas.

                POR CUANTO: Al 31 de diciembre de 2014, el balance de princip al de la

       LfNEA DE CREDITO asciende a $9,869,606.01 con intereses acumul ados por la

       cantida d de $891,861.66.

                POR CUANTO: La gerencia del BANCO ha recome ndado enmend ar la

       LfNEA DE CREDITO con el prop6si to de extende r el vencimiento de la misma hasta

        el 31 de enero de 2016.

                POR CUANTO: La Junta de Directores del BANCO ha autoriza do median te la

        Resoluci6n Num. 10554 adoptad a en reuni6n celebrada el 17 de diciembre de 2014 (la

        "Resoluci6n 10554"), enmend ar el CONTRATO DE PRESTAMO a los fines de

        extender la fecha de vencimiento hasta el 31 de enero de 2016 y requeri r el pago de

        honorarios por asesoria financiera, entre otros terrninos y condiciones.




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               POR CUANTO: De conformidad con la Resoluci6n Num. 2015-07 adoptada

      el 15 de enero de 2015 por la Junta de Directores de la AUTORIDAD, la

      AUTORIDAD ha aceptado los terminos y condiciones estaolecidos por el BANCO

      para la presente enmienda.

               POR LO TANTO, en consideraci6n a los hechos afirmados anteriormente, ya

      las representaciones, acuerdos y garantias que mas adelante se exponen, las partes

      comparecientes:

                                   ACUERDAN Y CONVIENEN

               PRIMERO: Las partes acuerdan extender la fecha de vencimiento de la

      LfNEA DE CREDITO e incluir los ingresos asignados a la AUTORIDAD bajo las

      Leyes Leyes Numero 30 y 31 del 25 de junio de 2013 como fuente de pago adidonal

       de la obligaci6n. Por consiguiente, se enmienda Ia Secd6n 1.3 del Articulo 1 del

      CONTRATO DE PRESTAMO, segi'm enmendado, para que lea como sigue:

               "La LfNEA DE CREDITO mas los intereses capitalizados seran pagaderos
               el 31 de enero de 2016. La fuente de pago sera futuras emisiones de bonos y
               productos de futuras alianzas publico privadas al igual que ingresos
               propios, incluyendo los ingresos asignados bajo las Leyes Numero 30 y 31
               del 25 de junio de 2013, los cuales estan cedidos y comprometidos a favor
               del BANCO mediante el Assignment and Security Agreement suscrito el 28
               de agosto de 2013 entre el BANCO y la AUTORIDAD/'


               SEGUNDO:_La AUTORIDAD reconoce, conviene y acepta pagar al BANCO

       honoraries por servicios de asesoria financiera igual a una veinticincoava (1/25)

       parte del uno por ciento (1 %), para un total de Cuatro Mil Doscientos Catorce




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      D6lares con Cincuenta y Cinco Centavos ($4,214.55) correspondientes a esta

      transacci6n y segtin la pol1tica vigente del BANCO.

               TERCERO:     En esta misma fecha, la AUTORIDAD suscribe y otorga un

      documento titulado CUARTA ENMIENDA A P AGARE (" ALLONGE").                           Este

       ALLONGE se hara formar parte del P AGARE original suscrito por la AUTORIDAD,

       segun enmendado, con el prop6sito de incorporar los acuerdos y enmiendas aquf

       consignadas.

               CUARTO: Esta CUARTA ENMIENDA AL CONTRATO DE PRESTAMO y su

       ALLONGE no constituyen una novaci6n de las obligaciones de la AUTORIDAD bajo el

       CONTRATO DE PRESTAMO y PAGARE, segun enmendados. Todos los demas

       terminos y condiciones del      CONTRATO DE PRESTAMO y el PAGARE, segun

       erunendados, que no contravengan lo aquf acordado, permaneceran inalteradas y en

       pleno vigor.

               QUINTO: El Presidente del BANCO, el Vicepresidente Ejecutivo de

       Financiamiento o cualquier otro vicepresidente ejecutivo, esta autorizado a canalizar los

       recursos e ingresos de la AUTORIDAD correspondientes a las Leyes 30 y 31 del 25 de

       junio de 2013 para el repago de los financiamientos vigentes y cualquiera otras

       cantidades que el BANCO cobre por concepto de obligaciones pendientes de la

       AUTORIDAD.

               SEXTO: El Director Ejecutivo de la AUTORIDAD y el Secretario del

       Departamento de Transportaci6n y Obras Pp.blicas deberan efectuar una presentaci6n a

       la Junta de Directores del BANCO sabre las finanzas de la AUTORIDAD y el progreso


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      de Ia impleme ntaci6n de sus planes a mediano y largo plazo para atender de manera

      expedita y efectiva la situad6n fiscal de la AUTORIDAD, mas alla de los nuevos

     . ingresos ya legislados. Esta presentaci6n se llevara a cabo previo a cualquier

      desembolso por parte del BANCO si aun quedan fondos disponibles bajo la LiNEA DE

      CREDITO.

               SEPTIMO: Esta CUARTA ENMIENDA AL CONTRATO DE
                                                          . PRESTAMO
                                                                  .  se

      suscribe de conforrrridad con la Resoluci6n 10554, la cual se i:1.prob6 como una

      declaraci6n de intenci6n bajo la Secci6n 1.150-2 de la regulaci6n del Departam ento del

      Tesoro Federal (U.S. Treasury Department Regulation Section 1.150-2).



                                 [FIR.MAS EN LA SIGUIENTE PAGINA]




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                EN TESTIMONIO DE LO CUAL, las partes comparecien tes otorgan esta

       CUARTA ENMIENDA A CONTRATO DE PRESTAMO en San Juan, Puerto Rico, a

       .J:..Q.. de mayo de 2015.
       BANCO GUBERNAMENTAL DE                  AUTORIDA D DE CARRETERAS Y
       FOMENTO PARA PUERTO RICO                TRANSPOR TACION DE PUERTO RICO




       Jor~~vill es Diaz
                                            g,m ;,~
                                               Carmen A. Villar Prados
       Vicepresiden te Ejecutivo               Directora Ejecutiva
       y Agente Fiscal

       Testimonio 3:3:f_

              Reconocido y suscrito ante rnf por Jorge A Oivilles Dfaz, mayor de edad,
       casado y vecino de San Juan, Puerto Rico, en su c:aracter de Vicepresiden te Ejecutivo
       y Agente Fiscal del Banco Gubernamen tal de Fomento para Puerto Rico, y por Carmen
       A. Villar Prados, mayor de edad, casada y vecina de Guaynabo, Puerto Rico, en su
       caracter de Directora Ejecutiva de la Autoridad de Carreteras y Transportad 6n de
       Puerto Rico, a quienes conozco personalmente.

                En San Juan, Puerto Rico, a J.o de mayo de 2015.




                                              EL PAGO DE ARANCEL
                                             E 4 DE JUNIO DE 1982




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                                                                                            [stamp:] MARIA DE
                                                                                            LOURDES RODRIGUEZ
                                                                                            ATTORNEY – NOTARY
                                                      LOAN AGREEMENT

                     THE FIRST PARTY: THE BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO

             RICO, a banking institution organized and existing in accordance with Law No. 17-1948, as amended

             (the “BANK”) represented in this instrument by its Executive Vice President of Financing, José R. Otero

             Freiría, adult, married and a resident of Dorado, Puerto Rico.

                     THE SECOND PARTY: The HIGHWAYS AND TRANSPORTATION AUTHORITY OF

             PUERTO RICO, a legal entity, established pursuant to Law No. 74-1965, (the “AUTHORITY”), as

             amended, represented in this instrument by Rubén A. Hernández Gregorat, Executive Director of the

             Authority and Secretary of the Department of Transportation and Public Works, adult, married, and a

             resident of Guaynabo, Puerto Rico, as authorized by Resolution No. [hw:] 2012-40 [initials] dated on the

             [hw:] 6th of [initials] [hw:] September 2012 October 2011 issued by the Secretary of Transportation and

             Public Works of Puerto Rico.

                                                                                            [stamp:] MARIA DE
                                                                                            LOURDES RODRIGUEZ
[initials]                                                                                  ATTORNEY – NOTARY
                                                            PREAMBLE

                     WHEREAS: The AUTHORITY requested a credit line for up to a maximum of $33,276,

             [illegible] in order to continue its capital improvements projects during the first six months of Fiscal Year

             2013.

                     WHEREAS: On August 15, 2012, the Board of Directors of the BANK approved Resolution No.

             9853 in order to grant to the AUTHORITY non-revolving credit line for the maximum principal amount

             of THIRTY-THREE MILLION NINE HUNDRED SIXTY THOUSAND DOLLARS ($33,960,000),

             which includes the sum of THIRTY-THREE MILLION TWO HUNDRED SEVENTY-SIX THOUSAND

             TWO HUNDRED
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             SEVENTY-TWO DOLLARS ($33,276,272) which the AUTHORITY shall use to continue its capital

             improvements projects during the first six months of Fiscal Year 2013, plus SIX HUNDRED EIGHTY-THREE

             THOUSAND SEVEN HUNDRED TWENTY-EIGHT DOLLARS ($683,728) which the AUTHORITY shall

             use to cover fees for financial consulting services and the capitalization of interests upon expiration.

                     THEREFORE, in consideration of the facts confirmed above and the representations, agreements and

             guarantees that are set forth below, the parties that appear approve and agree to grant this Loan Agreement.

              [stamp:] MARIA DE LOURDES RODRIGUEZ                    [stamp:] MARIA DE LOURDES RODRIGUEZ
              ATTORNEY – NOTARY                                      ATTORNEY – NOTARY

                                                               ARTICLE 1.

                                                                  LOAN

             1.1     Credit Line:

                     After the LEGAL DOCUMENTS referred to in Article 4.1 of this LOAN AGREEMENT are issued

             and signed, the BANK shall extend to the AUTHORITY a non-rotating CREDIT LINE for the maximum
[initials]
             amount of principal of THIRTY-THREE MILLION NINE HUNDRED SIXTY THOUSAND DOLLARS

             ($33,960,000), which includes the sum of THIRTY-THREE MILLION TWO HUNDRED SEVENTY-SIX

             THOUSAND TWO HUNDRED SEVENTY-TWO DOLLARS ($33,276,272) which the AUTHORITY shall

             use to continue its capital improvements projects during the first six months of Fiscal Year 2013, plus SIX

             HUNDRED EIGHTY-THREE THOUSAND SEVEN HUNDRED TWENTY-EIGHT DOLLARS ($638,728)

             which the AUTHORITY shall use to cover fees for financial consulting services and the capitalization of

             interest upon expiration.

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                     The CREDIT LINE shall be evidenced by one (1) PROMISSORY NOTE for the sum of $33,960,000

             signed by the AUTHORITY on the same date that this LOAN AGREEMENT is signed and payable to the order

             of the BANK.

                                                                    [stamp:] MARIA DE LOURDES RODRIGUEZ
                                                                    ATTORNEY – NOTARY

             1.2     Interest Rate:

                     The AUTHORITY approves and agrees to pay interest on the unpaid balance of principal of the Credit

             Line, calculated on an actual basis/360 days, at a rate equivalent to the Prime Rate plus 150 basis points, which

             shall never be less than 6%, or the rate that the President of the BANK or his authorized representative

             determines, according to the market interest rate. The interest shall be capitalized upon expiration. If on the

             expiration date of the repayment obligation the AUTHORITY has not paid the unpaid balance of the principal,

             the AUTHORITY shall pay interest on that sum computed based on 200 basis points over the rate that would

             apply under this LOAN AGREEMENT. The AUTHORITY authorizes the BANK and grants it authority

             without requiring any notice, to apply the right to set off the obligations that arise under this LOAN

             AGREEMENT, making any application of payments of any sum of money that belongs to the AUTHORITY

             in possession of the BANK for the payment of the LOAN AGREEMENT and accumulated interest in the event

             that the AUTHORITY breaches its payment obligations under the LOAN AGREEMENT.
[initials]
                                                                    [stamp:] MARIA DE LOURDES RODRIGUEZ
                                                                    ATTORNEY – NOTARY

             1.3     Term and Source of Payment:

                     The LOAN AGREEMENT shall be payable on January 31, 2013. The source of payment shall be future

             issuances of bonds and income from future private-public alliances as well as own income.

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             1.4     Disbursements:

                     The AUTHORITY shall request disbursements in writing three (3) business days in advance. The

             disbursement request shall include a certification form (notice of drawing) equal to Annex A of this Agreement,

             in which the Executive Director of the AUTHORITY, or the person that he designates, certifies the necessity

             of the funds and the justification for their use. The AUTHORITY shall include, in addition, any other

             documentation that the BANK in its full discretion requests from it prior to the disbursement, including, but not

             limited to, copies of invoices. The disbursements under this financing are subject to compliance by the

             AUTHORITY with the Fiscal Agency Area for the conditions stipulated in the Fiscal Oversight Agreement

             (FOA) that the AUTHORITY has in effect with the BANK. The BANK management shall assign an external

             auditor to verify the operational expenses and to authorize the disbursements, as a condition for such

             disbursements.

             1.5     Financial Consultancy Fees:

                     The AUTHORITY approves and agrees to pay the BANK fees for financial consultancy that the BANK

[initials]   provides, according to the BANK’s policy in effect.

                                                                    [stamp:] MARIA DE LOURDES RODRIGUEZ
                                                                    ATTORNEY – NOTARY



                                                                ARTICLE 2.
                                                     AFFIRMATIVE AGREEMENTS
                     2.1      Other Conditions:
                              This LOAN AGREEMENT is granted as an official statement of intent under the regulation

             of the Department of the Treasury of the United States, Section 1.150.2.


                                                                    [stamp:] MARIA DE LOURDES RODRIGUEZ
                                                                    ATTORNEY – NOTARY

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        2.2.    Ground of Breach:

                The AUTHORITY shall notify the BANK of any condition, fact or occurrence that may constitute a

        ground of breach or that pursuant to its notice or the mere passage of time, or both, may constitute a ground of

        breach by delivering to the BANK a certification signed by one of its officials, specify stating the nature of such

        ground, the time during which it has existed, and what course of action the AUTHORITY proposes to initiate

        with respect to them. Such notice shall be sent to the BANK within ten (10) days after the breach occurs.

                                                                [stamp:] MARIA DE LOURDES RODRIGUEZ
                                                                ATTORNEY – NOTARY

        2.3     Payment of Costs for Extrajudicial Collections, Professional Fees, Expenses, etc.:


                At the BANK’s request, the AUTHORITY shall promptly reimburse the BANK for the payment

        of costs, expenses and attorney’s fees incurred by the BANK in extrajudicial collections of any time period

        in delay in relation with the LOAN AGREEMENT owed by the AUTHORITY. The failure by the

        AUTHORITY to reimburse such costs, expenses and attorney’s fees shall constitute a ground of breach on

        the LOAN AGREEMENT.


                Such costs, expenses and attorney’s fees incurred by the BANK in accordance with the provisions

[initials] of this LOAN AGREEMENT shall be reimbursed by the AUTHORITY immediately upon request.

                                                                [stamp:] MARIA DE LOURDES RODRIGUEZ
                                                                ATTORNEY – NOTARY

        2.4     Breach under the Legal Documents:


                The AUTHORITY agrees that any breach of the terms of the PROMISSORY NOTE and/or the

        obligation letter shall be deemed at the same time to be a breach of this LOAN AGREEMENT and vice

        versa, and when it occurs

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         the BANK shall immediately have the right to enforce any of the rights and privileges that any of the LEGAL

         DOCUMENTS may confer.

         2.5      Authorization to Take Collateral:

                  The AUTHORITY has taken the appropriate and necessary measures, official or of another type, to

         authorize the issuance and delivery of the LEGAL DOCUMENTS without any limitation.

             [stamp:] MARIA DE LOURDES RODRIGUEZ               [stamp:] MARIA DE LOURDES RODRIGUEZ
             ATTORNEY – NOTARY                                 ATTORNEY – NOTARY

                                                       ARTICLE 3.


                                                       BREACHES


         3.1      Grounds of Breach:


                  Each of the following shall constitute a ground of breach under the terms of this LOAN

         AGREEMENT:


                  3.1.1   if any representation given or extended by the AUTHORITY to the BANK in any of the

                          procedures and LEGAL DOCUMENTS or if any report, guarantee or financial certificate

                          or any other type of document provided to the BANK in relation to this LOAN

                          AGREEMENT is found to be false or misleading;

[initials]
                  3.1.2   failure to pay principal and interest and their penalties, if any, of the LOAN AGREEMENT

                          on their due date in accordance with the terms of any of the LEGAL DOCUMENTS;


                  3.1.3   breach or violation by the AUTHORITY of any of the terms, clauses and conditions agreed

                          to with the BANK in Articles 1 and 2 of this LOAN AGREEMENT; or

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               3.1.4   the failure by the AUTHORITY to remedy or cure within a time period of thirty (30) days

                       from its occurrence, without prior written notice by the BANK, any breach of the terms,

                       clauses and conditions of this LOAN AGREEMENT. This does not apply to the terms and

                       conditions related to the obligations to pay the LOAN AGREEMENT, since the

                       AUTHORITY shall strictly comply with such payment when it is due.


                                                             [stamp:] MARIA DE LOURDES RODRIGUEZ
                                                             ATTORNEY – NOTARY

        3.2    Remedies:


               When any of the grounds of breach listed in Article 3.1 of this LOAN AGREEMENT occurs, and

        if such breach is not cured or remedied as provided, without any need to send any notice of breach, the

        rights to which the AUTHORITY hereby waives the granting, the BANK may:


               3.2.1   proceed to claim the payment of the unpaid balance of the CREDIT LINE;


               3.2.2   file a court proceeding requesting the specific performance of any term, clause or condition

                       of any of the LEGAL DOCUMENTS, or a temporary or permanent injunction to prevent

                       the AUTHORITY from violating any such terms, clauses or conditions; or
[initials]
               3.2.3   to enforce any other remedy to which it has a right under the laws of the Commonwealth

                       of Puerto Rico.


                                                             [stamp:] MARIA DE LOURDES RODRIGUEZ
                                                             ATTORNEY – NOTARY

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                                                                    [stamp:] MARIA DE LOURDES RODRIGUEZ
                                                                    ATTORNEY – NOTARY

                                                           ARTICLE 4.


                                               MISCELLANEOUS PROVISIONS


             4.1     Legal Documents:


              [stamp:] MARIA DE LOURDES RODRIGUEZ
              ATTORNEY – NOTARY

                     As used in this LOAN AGREEMENT, the term LEGAL DOCUMENTS means:


                             1. PROMISSORY NOTE


                             2. LOAN AGREEMENT


             4.2     Waivers, Relief, Extensions, Forbearance and Additional Remedies:


                     No delay or late performance by the BANK or by any holder or owner of the PROMISSORY

             NOTE in the enforcement of any right, authority or remedy that it may have in accordance with the terms

             of any of the LEGAL DOCUMENTS shall be deemed to be a waiver, limitation or reduction of such rights,

             authorities or remedies, and the partial or exclusive enforcement of any of them shall not be an impediment

             for them to subsequently be fully enforced, including, but not limited to, the right to offset. Remedies in

             favor of the BANK provided in the LEGAL DOCUMENTS shall be deemed to be in addition to, any not

             to exclude, any other remedy set forth in law. For any relief, extension or forbearance extended by the

             BANK to the AUTHORITY, or any amendment to this LOAN AGREEMENT to be enforceable, it shall

             appear in writing signed by an authorized official of the BANK, which shall specifically state the scope of

             the relief, extension, forbearance or amendment granted. Any relief, extension, forbearance or amendment

             granted shall be valid only for the occurrence or potential occurrence for which it was granted.
[initials]
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             4.3     Addresses for Notices, etc.:

                     Any notice, claim, directive or other communication provided by the LEGAL DOCUMENTS shall be

             recorded in writing and shall be delivered in person or sent by fax or mail to the following addresses:

                                                                    [stamp:] MARIA DE LOURDES RODRIGUEZ
                                                                    ATTORNEY – NOTARY
                                                                    [stamp:] MARIA DE LOURDES RODRIGUEZ
                                                                    ATTORNEY – NOTARY

             TO THE “AUTHORITY”:


             Highways and Transportation Authority
             Department of Transportation and Public Works
             P.O. Box 42007
             San Juan, Puerto Rico 00940-2007
             (787) 721-8787

             Attention: Executive Director

             TO THE “BANK”:

             Banco Gubernamental de Fomento para Puerto Rico
             P.O. Box 42001
             San Juan, Puerto Rico 00940-2001
             Fax: (787) 721-1443

             Attention: President

             or to any other address that the parties indicate by written notice sent in accordance with the provisions in

             this Article. These shall be deemed to be perfected after they have been duly deposited postmarked in the

             mail and sent to the addresses stated.
[initials]
             4.4     Successors and Beneficiaries:

                     The agreements and clauses contained herein shall obligate and benefit the parties and their

             respective beneficiaries, executors, administrators, successors and assignees.

             4.5     Waivers by the AUTHORITY of Presentation, Protest, etc.:

                     The AUTHORITY waives any notice of acceptance or demand or requirement to meet any

             condition precedent by the BANK,

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as well as waiver of rights of presentation, protest, notice of protest, payment request, notice of breach or failure to

pay, release, compromise, set-off, settlement, extension, renewal or extension of any contractual right or legal

instrument and, in general, any other legal formality.

        IN WITNESS WHEREOF, the parties who appear grant this LOAN AGREEMENT, in San Juan, Puerto

Rico, on this date September [hw:] 12, 2012.

 BANCO GUBERNAMENTAL DE                                    HIGHWAYS AND TRANSPORTATION
 FOMENTO PARA PUERTO RICO                                  AUTHORITY OF PUERTO RICO

         [signature]                                               [signature]
 José R. Otero Freiría                                     Rubén Hernández Gregorat
 Executive Vice President                                  Executive Director
                                                           Secretary, Department of Transportation
                                                            and Public Works of Puerto Rico

Statement [hw:] 702A --

        Acknowledged and signed before me by Rubén Hernández Gregorat, adult, married, executive and
resident of San Juan, Puerto Rico, in his capacity of Executive Director of the Highways and Transportation
Authority of Puerto Rico, whom I know personally. [hw:] It is clarified that the party who appears is a
resident of Guaynabo, Puerto Rico. [initials]
        In San Juan, Puerto Rico, on September [hw:] 6, 2012.
 [stamp:] MARIA DE
 LOURDES
 RODRIGUEZ                  EXEMPT FROM PAYMENT OF STAMP TAX
 ATTORNEY-NOTARY            LAW 47 OF JUNE 4, 1982                                         [signature]
                                                                                           Public Notary
 [initials]
 stamp:] MARIA DE
 LOURDES
 RODRIGUEZ
 ATTORNEY-NOTARY

Statement [hw:] 704 --

        Acknowledged and signed before me by José R. Otero Freiría, adult, married and resident of Dorado,
Puerto Rico in his capacity of Executive Vice President of Financing Banco Gubernamental de Fomento para
Puerto Rico, whom I know personally.
        In San Juan, Puerto Rico, on September [hw:] 12, 2012.
 [stamp:] MARIA DE                                                                         [signature]
 LOURDES                                                                                   Public Notary
 RODRIGUEZ                                                                                                        28910 v3
 ATTORNEY-NOTARY                                                                   EXEMPT FROM PAYMENT OF
                                                                                   STAMP TAX
                                                                                   LAW 47 OF JUNE 4, 1982
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              Case:21-00068-LTS Doc#:18815-6
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                                          FIRST AMENDMENT TO LOAN AGREEMENT

                                                                 APPEAR

                     THE FIRST PARTY: The BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO

             RICO, a banking institution organized and existing pursuant to Law No. 17, approved on September 23, 1948,

             as amended (the “BANK”), represented in the act by Ian J. Figueroa Toro, Executive Vice President and Director

             of Financing, adult, married and resident of San Juan, Puerto Rico.

                     THE SECOND PARTY: The HIGHWAYS AND TRANSPORTATION AUTHORITY OF

             PUERTO RICO, a legal entity established pursuant to Law No. 74 of June 23, 1965, as amended (the

             “AUTHORITY”), represented in this act by Javier E. Ramos Hernández, Executive Director of the

             AUTHORITY, adult, married, engineer and a resident of Bayamón, Puerto Rico.

                     Unless any term written in capital letters is defined otherwise in this FIRST AMENDMENT TO THE

             LOAN AGREEMENT, it shall have the meaning given in the LOAN AGREEMENT, as defined below.
[initials]
                                                               PREAMBLE

                     WHEREAS: On August 15, 2012, the Board of Directors of the BANK approved Resolution No. 9853

             to grant to the AUTHORITY a non-revolving line of credit for the maximum amount of THIRTY-THREE

             MILLION NINE HUNDRED SIXTY THOUSAND DOLLARS ($33,960,000), to continue its capital

             improvements projects during the first six months of Fiscal Year 2013, as well as to cover fees for financial

             consulting services and the capitalization of interest upon expiration.




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                     WHEREAS: In accordance with the above, the AUTHORITY and the BANK signed a Loan Agreement

             (the “LOAN AGREEMENT”), effective on September 12, 2012, granting to the AUTHORITY a non-revolving

             CREDIT LINE for the maximum amount of $33,960,000, which included $33,276,272 to continue with capital

             improvement projects during the first six months of Fiscal Year 2013 and $683,728 to cover the payment of fees

             for financial consulting services and the capitalization of interest upon expiration. On the same date of the

             granting of the LOAN AGREEMENT, the AUTHORITY signed a PROMISSORY NOTE for the sum of

             THIRTY-THREE MILLION NINE HUNDRED SIXTY THOUSAND DOLLARS ($33,960,000) to the order

             of the BANK and with expiration on January 31, 2013.

                     WHEREAS: On December 31, 2012, the balance of the principal of the CREDIT LINE totals

             $1,136,317.65 with accrued interest for the amount of $1,466.32.
[initials]
                     WHEREAS: The management of the BANK has recommended, to amend the CREDIT LINE for the

             purpose of extending the expiration and repayment of accrued interest until January 31, 2014.

                     WHEREAS: The Board of Directors of the BANK has authorized by Resolution No. 9957 adopted at

             a meeting held on January 17, 2013, to amend the LOAN AGREEMENT for purposes of extending the expiration

             date until January 31, 2014 and to establish the payment of professional fees for financial consulting services,

             among other terms and conditions.




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                     WHEREAS: In accordance with Resolution No. 2013-10 issued on January 31, 2013 by Miguel A.

             Torres Días, Secretary of the Department of Transportation and Public Works of Puerto Rico, the AUTHORITY

             accepted the terms and conditions set forth by the BANK for this amendment.

                     THEREFORE, in consideration of the facts confirmed above, and of the representations, approvals

             and guarantees set forth below, the parties that appear:

                                                       APPROVE AND AGREE

                     FIRST: The first sentence of Section 1.3 of Article 1 of the LOAN AGREEMENT is amended to read

             as follows:

                     “The CREDIT LINE plus capitalized interest shall be payable on January 31, 2014.”


                     SECOND: The AUTHORITY acknowledges, accepts and agrees to pay the BANK professional fees

             for financial consultancy services equal to one twenty-fifth (1/25) of one percent (1%), for a total of Thirteen

             Thousand Five Hundred Eighty-Four Dollars ($13,584) corresponding to this transaction and according to the
[initials]
             policy of the BANK in effect.

                     THIRD: On this same date, the AUTHORITY signs and issues a document entitled FIRST

             AMENDMENT TO THE PROMISSORY NOTE (“ALLONGE”). This ALLONGE shall be made to form a

             part of the original PROMISSORY NOTE signed by the AUTHORITY, as amended, for the purpose of

             incorporating the agreements and amendments set forth herein.



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                      FOURTH: This FIRST AMENDMENT TO THE LOAN AGREEMENT and its ALLONGE do not

             constitute a novation of the obligations of the AUTHORITY under the LOAN AGREEMENT and

             PROMISSORY NOTE, as amended. Any of the other terms and conditions of the LOAN AGREEMENT and

             the PROMISSORY NOTE, as amended, that do not violate the provisions herein shall remain unchanged and

             in full effect.

                      FIFTH: This FIRST AMENDMENT TO THE LOAN AGREEMENT is signed in accordance with

             Resolution 9957 adopted by the Board of Directors of the BANK on January 17, 2013, which was approved as

             a statement of intent under Section 1.150-2 of U.S. Treasury Department Regulation Section 1.150-2.

                                             [SIGNATURES ON THE NEXT PAGE]
[initials]




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        IN WITNESS WHEREOF, the parties who appear grant this FIRST AMENDMENT TO THE LOAN

AGREEMENT, in San Juan, Puerto Rico, on March [hw:] 13, 2013.



 BANCO GUBERNAMENTAL DE                              HIGHWAYS AND TRANSPORTATION
 FOMENTO PARA PUERTO RICO                            AUTHORITY OF PUERTO RICO

          [signature]                                        [signature]
 Ian J. Figueroa Toro                                Javier E. Ramos Hernández
 Executive Vice President                            Executive Director
 and Director of Finances

Statement [hw:] 782

        Acknowledged and signed before me by Javier E. Ramos Hernández, adult, married, engineer and
resident of Bayamón, Puerto Rico, in his capacity as Executive Director of the Highways and Transportation
Authority of Puerto Rico, whom I know personally.

       In San Juan, Puerto Rico, on March [hw:] 13, 2013.
 [stamp:]
 MARGUILEÁN
 RIVERA AMILL             EXEMPT FROM PAYMENT OF STAMP TAX
 ATTORNEY-NOTARY          LAW 47 OF JUNE 4, 1982                                   [signature]
                                                                                   Public Notary


Statement [hw:] 784

       Acknowledged and signed before me by Ian J. Figueroa Toro, adult, married and resident of San Juan,
Puerto Rico, in his capacity as Executive Vice President and Fiscal Agent of the Banco Gubernamental de
Fomento para Puerto Rico, whom I know personally.

       In San Juan, Puerto Rico, on March [hw:] 13, 2013.
 [stamp:]
 MARGUILEÁN
 RIVERA AMILL             EXEMPT FROM PAYMENT OF STAMP TAX
 ATTORNEY-NOTARY          LAW 47 OF JUNE 4, 1982                                    [signature]
                                                                                    Public Notary




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                                       SECOND AMENDMENT TO LOAN AGREEMENT

                                                             APPEAR

                     THE FIRST PARTY: The BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO

             RICO, a banking institution organized and existing pursuant to Law No. 17, approved on September 23, 1948,

             as amended (the “BANK”), represented in the act by José Pagán Beauchamp, Interim President, adult, married

             and resident of Guaynabo, Puerto Rico.

                     THE SECOND PARTY: The HIGHWAYS AND TRANSPORTATION AUTHORITY OF

             PUERTO RICO, a public corporation and instrumentality of the Commonwealth of Puerto Rico established

             pursuant to Law No. 74 of June 23, 1965, as amended (the “AUTHORITY”), represented in this act by Javier E.

             Ramos Hernández, Executive Director, adult, married and a resident of Bayamón, Puerto Rico.

                     Unless any term written in capital letters is defined otherwise in this First Amendment to the Loan

             Agreement (the “SECOND AMENDMENT TO THE LOAN AGREEMENT”), it shall have the meaning given

             in the LOAN AGREEMENT, as defined below.

                                                           PREAMBLE

                     WHEREAS: On August 15, 2012, the Board of Directors of the BANK approved Resolution No. 9853

             to grant to the AUTHORITY a non-revolving line of credit for up to a maximum amount of THIRTY-THREE

             MILLION NINE HUNDRED SIXTY THOUSAND DOLLARS ($33,960,000), to continue its capital


[initials]




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         improvements projects during the first six months of Fiscal Year 2013, as well as to cover fees for financial

         consulting services and the capitalization of interest upon expiration.

                 WHEREAS: In accordance with the above, the AUTHORITY and the BANK signed a Loan Agreement

         (the “LOAN AGREEMENT”), effective on September 12, 2012, granting to the AUTHORITY a non-revolving

         CREDIT LINE for the maximum amount of $33,960,000, which included $33,276,272 to continue with the

         capital improvements projects during the first six months of Fiscal Year 2013 and $683,728 to cover fees for

         financial consulting services and the capitalization of interest upon expiration. On the same date of the granting

         of the LOAN AGREEMENT, the AUTHORITY signed a PROMISSORY NOTE for the sum of $33,960,000 to

         the order of the BANK and with expiration on January 31, 2013.

                 WHEREAS: On March 13, 2013, the BANK and the AUTHORITY signed a First Amendment to loan

         agreement for purposes of extending the expiration until January 31, 2014. On that same date, the AUTHORITY

         signed a First Amendment to Promissory Note (“Allonge”) to incorporate the amendments.

                 WHEREAS: During the month of December 2012, the AUTHORITY and Société Générale made two

[initials] transactions that generated the amount of $23,423,637.50, which must be used to cover costs of capital

         improvement projects of the AUTHORITY.

                 WHEREAS: In view of the above, the management of the BANK has recommended, to amend the

         financing provided to the AUTHORITY for an amount




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             of $23,423,637.50 and to amend the CREDIT LINE for the purpose of establishing that the maximum authorized

             amount for the CREDIT LINE shall be $10,536,362.50.

                     WHEREAS: As of June 10, 2013, the principal balance of the CREDIT LINE totals $4,459,780.91 with

             accrued interest for the amount of $59,207.99.

                     WHEREAS: The Board of Directors of the BANK has authorized by Resolution No. 10077 adopted at

             a meeting held on June 19, 2013, to amend the LOAN AGREEMENT for purposes of reducing the maximum

             authorized amount for the CREDIT LINE and to establish that the maximum authorized amount under the

             CREDIT LINE shall be $10,536,362.50, among other terms and conditions.

                     WHEREAS: In accordance with Resolution No. 2013-35 issued on August 16, 2013 by the Board of

[initials]   Directors of the AUTHORITY, the AUTHORITY accepted the terms and conditions set forth by the BANK for

             this amendment.

                     THEREFORE, in consideration of the facts confirmed above, and of the representations, approvals and

             guarantees set forth below, the parties that appear:

                                                        APPROVE AND AGREE

                     FIRST: Section 1.1 of Article 1 of the LOAN AGREEMENT, as amended, is amended to read as

             follows:

                     “After the LEGAL DOCUMENTS listed in Article 4.1 of this LOAN AGREEMENT are issued
                     and signed, the BANK shall extend to the AUTHORITY a non-revolving CREDIT LINE




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                for the maximum principal amount of TEN MILLION FIVE HUNDRED THIRTY-SIX
                THOUSAND THREE HUNDRED SIXTY-TWO DOLLARS AND FIFTY CENTS
                ($10,536,362.50), which includes the sums of NINE MILLION EIGHT HUNDRED SIXTY-
                NINE THOUSAND SIX HUNDRED SIX DOLLARS AND ONE CENT ($9,869,606.01)
                which the AUTHORITY shall use to continue its capital improvement projects during the first
                six months of Fiscal Year 2013, plus SIX HUNDRED SIXTY-SIX THOUSAND SEVEN
                HUNDRED FIFTY-SIX DOLLARS AND FORTY-NINE CENTS ($666,756.49) which the
                AUTHORITY shall use to cover fees for financial consulting services and the capitalization of
                interest upon expiration.

                The CREDIT LINE shall be evidenced by a PROMISSORY NOTE for the amount of TEN
                MILLION FIVE HUNDRED THIRTY-SIX THOUSAND THREE HUNDRED SIXTY-TWO
                DOLLARS AND FIFTY CENTS ($10,536,362.50) signed by the AUTHORITY on the same
                date that it signs this LOAN AGREEMENT and payable to the order of the BANK.”

                SECOND: On this same date, the AUTHORITY signs and issues a document entitled SECOND

[initials] AMENDMENT TO THE PROMISSORY NOTE (“ALLONGE”). This ALLONGE shall be made to form a

       part of the original PROMISSORY NOTE signed by the AUTHORITY, as amended, for the purpose of

       incorporating the agreements and amendments set forth herein.

                THIRD: This SECOND AMENDMENT TO THE LOAN AGREEMENT and its ALLONGE do not

       constitute a novation of the obligations of the AUTHORITY under the LOAN AGREEMENT and

       PROMISSORY NOTE, as amended. Any of the other terms and conditions of the LOAN AGREEMENT and

       the PROMISSORY NOTE, as amended, that do not violate the provisions herein shall remain unchanged and

       in full effect.

                                         [SIGNATURES ON THE NEXT PAGE]




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        IN WITNESS WHEREOF, the parties who appear grant this SECOND AMENDMENT TO THE

LOAN AGREEMENT, in San Juan, Puerto Rico, on September [hw:] 10, 2013.



 BANCO GUBERNAMENTAL DE                                 HIGHWAYS AND TRANSPORTATION
 FOMENTO PARA PUERTO RICO                               AUTHORITY OF PUERTO RICO

         [signature]                                            [signature]
 José Pagán Beauchamp                                   Javier E. Ramos Hernández
 Interim President                                      Executive Director

Statement [hw:] 881

        Acknowledged and signed before me by Javier E. Ramos Hernández, adult, married, engineer and
resident of Bayamón, Puerto Rico, in his capacity as Executive Director of the Highways and Transportation
Authority of Puerto Rico, whom I know personally. In San Juan, Puerto Rico, on September [hw:] 10, 2013.
 [stamp:]
 MARGUILEAN
 RIVERA AMILL             EXEMPT FROM PAYMENT OF STAMP TAX
 ATTORNEY-NOTARY          LAW 47 OF JUNE 4, 1982                                      [signature]
                                                                                      Public Notary

Statement [hw:] 883

        Acknowledged and signed before me by José Pagán Beauchamp, adult, married, engineer and resident
of Guaynabo, Puerto Rico, in his capacity as Interim President of the Banco Gubernamental de Fomento para
Puerto Rico, whom I know personally. In San Juan, Puerto Rico, on September [hw:] 10, 2013.
 [stamp:]
 MARGUILEAN
 RIVERA AMILL             EXEMPT FROM PAYMENT OF STAMP TAX
 ATTORNEY-NOTARY          LAW 47 OF JUNE 4, 1982                                     [signature]
                                                                                     Public Notary




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                                         THIRD AMENDMENT TO LOAN AGREEMENT

                                                                 APPEAR

                     THE FIRST PARTY: THE BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO

             RICO, a public corporation and instrumentality of the Commonwealth of Puerto Rico established pursuant to

             Law No. 17, approved on September 23, 1948, as amended (the “BANK”), represented in the act by Jorge A.

             Clivillés Díaz, Executive Vice President and Fiscal Agent, adult, married and resident of San Juan, Puerto Rico.

                     THE SECOND PARTY: The HIGHWAYS AND TRANSPORTATION AUTHORITY OF

             PUERTO RICO, a public corporation and instrumentality of the Commonwealth of Puerto Rico established

             pursuant to Law No. 74 of June 23, 1965, as amended (the “AUTHORITY”), represented in this act by Javier

             E. Ramos Hernández, Executive Director, adult, married and a resident of Bayamón, Puerto Rico.

                     Unless any term written in capital letters is defined otherwise in this Third Amendment to the Loan

[initials]   Agreement (the “THIRD AMENDMENT TO THE LOAN AGREEMENT”), it shall have the meaning given

             in the LOAN AGREEMENT, as amended and defined below.

                                                               PREAMBLE

                     WHEREAS: On August 15, 2012, the Board of Directors of the BANK approved Resolution No. 9853

             to grant to the AUTHORITY a non-revolving line of credit for the maximum amount of $33,960,000 to continue

             its capital improvements projects during the first six months of Fiscal Year 2013, as well as to cover the fees

             for financial consulting services and the capitalization of interest upon expiration.




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                     WHEREAS: In accordance with the above, the AUTHORITY and the BANK signed a Loan

             Agreement (the “LOAN AGREEMENT”), effective on September 12, 2012, granting to the AUTHORITY

             a non-revolving CREDIT LINE for the maximum sum of $33,960,000, which included $33,276,272 to

             continue with the capital improvements projects during the first six months of Fiscal Year 2013 and

             $683,728 to cover fees for financial consultancy and the capitalization of interest upon expiration. On the

             same date of the granting of the LOAN AGREEMENT, the AUTHORITY signed a PROMISSORY NOTE

             for the sum of $33,960,000 to the order of the BANK and with expiration on January 31, 2013.

                     WHEREAS: On March 13, 2013, the BANK and the AUTHORITY signed a First Amendment to

             the Loan Agreement in order to extend the expiration and repayment of accumulated interest until January

             31, 2014. On that same date, the AUTHORITY signed a First Amendment to the Promissory Note

             (“Allonge”) in order to incorporate the said amendments.
[initials]
                     WHEREAS: During the month of December 2012, the AUTHORITY and Société Générale made

             two transactions that generated the amount of $23,423,637.50 to be used only to cover costs of capital

             improvements projects of the AUTHORITY.

                     WHEREAS: In view of the above, on September 10, 2013, the BANK and the AUTHORITY

             signed a Second Amendment to the Loan Agreement in order to reduce the financing provided to the

             AUTHORITY for an amount of $23,423,637.50 and to amend the CREDIT LINE for the purpose of




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             establishing the maximum authorized amount at $10,536,362.50. On that same date, the AUTHORITY

             signed a Second Amendment to the Promissory Note (“Allonge”) in order to incorporate the said

             amendments.

                     WHEREAS: As of October 31, 2013, the principal balance of the CREDIT LINE totals

             $7,898,217.35 with accrued interest for the amount of $213,557.40.

                     WHEREAS: The AUTHORITY has requested, and the BANK’s management has recommended

             to amend the CREDIT LINE for the purpose of extending the expiration of the CREDIT LINE until January

             31, 2015.

                     WHEREAS: The Board of Directors of the BANK has authorized by Resolution No. 10197

             adopted at a meeting held on November 20, 2013 to amend the LOAN AGREEMENT for purposes of
[initials]
             extending the expiration date until January 31, 2015 and to request the payment of professional fees for

             financial consultancy, among other terms and conditions.

                     WHEREAS: In accordance with Resolution No. 2014-04 issued on January 30,2014 by the Board

             of Directors of the AUTHORITY, the AUTHORITY accepted the terms and conditions set forth by the

             BANK for this amendment.

                     THEREFORE, in consideration of the facts confirmed above, and of the representations,

             approvals and guarantees set forth below, the parties that appear:




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                                              APPROVE AND AGREE

               FIRST: Section 1.3 of Article 1 of the LOAN AGREEMENT, as amended, is amended to read as

       follows:

               “The CREDIT LINE plus capitalized interest shall be payable on January 31, 2015.”

                       SECOND: The AUTHORITY acknowledges, accepts and agrees to pay the BANK

       professional fees for financial consultancy services equal to one twenty-fifth (1/25) of one percent (1%),

       for a total of Four Thousand Two Hundred Fourteen Dollars and Fifty-Five Cents ($4,214.55)

       corresponding to this transaction and in accordance with the policy of the BANK in effect.

               THIRD: On this same date, the AUTHORITY signs and issues a document entitled FOURTH

[initials] AMENDMENT TO THE PROMISSORY NOTE (“ALLONGE”). This ALLONGE shall be made to form
       a part of the original PROMISSORY NOTE signed by the AUTHORITY, as amended, for the purpose of

       incorporating the agreements and amendments set forth herein.

               FOURTH: This THIRD AMENDMENT TO THE LOAN AGREEMENT and its ALLONGE do

       not constitute a novation of the obligations of the AUTHORITY under the LOAN AGREEMENT and

       PROMISSORY NOTE, as amended. Any of the other terms and conditions of the LOAN AGREEMENT

       and the PROMISSORY NOTE, as amended, that do not violate the provisions herein shall remain

       unchanged and in full effect.




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                     FIFTH: This THIRD AMENDMENT TO THE LOAN AGREEMENT is signed in accordance with

             Resolution 10197 adopted by the Board of Directors of the BANK on November 20, 2013, which was approved

             as a statement of intent under U.S. Treasury Department Regulation Section 1.150-2.



                                             [SIGNATURES ON THE NEXT PAGE]
[initials]




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        IN WITNESS WHEREOF, the parties who appear grant this THIRD AMENDMENT TO THE

LOAN AGREEMENT, in San Juan, Puerto Rico, on January [hw:] 31, 2014.



 BANCO GUBERNAMENTAL DE                               HIGHWAYS AND TRANSPORTATION
 FOMENTO PARA PUERTO RICO                             AUTHORITY OF PUERTO RICO

         [signature]                                          [signature]
 Jorge A. Clivillés Díaz                              Javier E. Ramos Hernández
 Executive Vice President                             Executive Director
 and Fiscal Agent

Statement [hw:] 907

        Acknowledged and signed before me by Javier E. Ramos Hernández, adult, married, and resident of
Bayamón, Puerto Rico, in his capacity as Executive Director of the Highways and Transportation Authority of
Puerto Rico, whom I know personally. In San Juan, Puerto Rico, on January [hw:] 31, 2014.
 [stamp:]
 MARGUILEAN
 RIVERA AMILL               EXEMPT FROM PAYMENT OF STAMP TAX
 ATTORNEY-NOTARY            LAW 47 OF JUNE 4, 1982                                    [signature]
                                                                                      Public Notary

Statement [hw:] 909

       Acknowledged and signed before me by Jorge A. Clivillés Díaz, adult, married, resident of San Juan,
Puerto Rico, in his capacity as Executive Vice President and Fiscal Agent of the Banco Gubernamental de
Fomento para Puerto Rico, whom I know personally. In San Juan, Puerto Rico, on January [hw:] 31, 2014.
 [stamp:]
 MARGUILEAN
 RIVERA AMILL               EXEMPT FROM PAYMENT OF STAMP TAX
 ATTORNEY-NOTARY            LAW 47 OF JUNE 4, 1982                                    [signature]
                                                                                      Public Notary




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                                       FOURTH AMENDMENT TO LOAN AGREEMENT

                                                               APPEAR

                     THE FIRST PARTY: THE BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO

             RICO, a public corporation and instrumentality of the Commonwealth of Puerto Rico established pursuant to

             Law No. 17, approved on September 23, 1948, as amended (the “BANK”), represented in the act by Jorge A.

             Clivillés Díaz, Executive Vice President and Fiscal Agent, adult, married and resident of San Juan, Puerto Rico.

                     THE SECOND PARTY: The HIGHWAYS AND TRANSPORTATION AUTHORITY OF

             PUERTO RICO, a public corporation and instrumentality of the Commonwealth of Puerto Rico established

             pursuant to Law No. 74 of June 23, 1965, as amended (the “AUTHORITY”), represented in this act by Carmen

             A. Villar Prados, Executive Director, adult, married and a resident of Guaynabo, Puerto Rico.

                     Unless any term written in capital letters is defined otherwise in this Fourth Amendment to the Loan

             Agreement (the “FOURTH AMENDMENT TO THE LOAN AGREEMENT”), it shall have the meaning given

             in the LOAN AGREEMENT, as amended and defined below.

                                                             PREAMBLE

                     WHEREAS: On August 15, 2012, the Board of Directors of the BANK approved Resolution No. 9853

             to grant to the AUTHORITY a non-revolving line of credit for the maximum amount of $33,960,000 to continue

             its capital improvements projects
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             during the first six months of Fiscal Year 2013, as well as to cover fees for financial consultancy and

             capitalization of interest upon expiration.

                     WHEREAS: In accordance with the above, the AUTHORITY and the BANK signed a Loan

             Agreement (the “LOAN AGREEMENT”), effective on September 12, 2012, granting to the AUTHORITY

             a non-revolving CREDIT LINE for the maximum sum of $33,960,000, which included $33,276,272 to

             continue with the capital improvements projects during the first six months of Fiscal Year 2013 and

             $683,728 to cover fees for financial consultancy and the capitalization of interest upon expiration. On the

             same date of the granting of the LOAN AGREEMENT, the AUTHORITY signed a PROMISSORY NOTE

             for the sum of $33,960,000 to the order of the BANK and with expiration on January 31, 2013.

                     WHEREAS: On March 13, 2013, the BANK and the AUTHORITY signed a First Amendment to

             the Loan Agreement in order to extend the expiration and repayment of accumulated interest until January

             31, 2014. On that same date, the AUTHORITY signed a First Amendment to the Promissory Note

             (“Allonge”) in order to incorporate the said amendments.

                     WHEREAS: During the month of December 2012, the AUTHORITY and Société Générale made

             two transactions that generated the amount of $23,423,637.50 to be used only to cover costs of capital

             improvements projects of the AUTHORITY.

                     WHEREAS: In view of the above, on September 10, 2013, the BANK and the AUTHORITY

[initials]   signed a Second Amendment to the Loan Agreement




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             in order to reduce the financing provided to the AUTHORITY for an amount of $23,423,637 and to amend

             the CREDIT LINE for the purpose of establishing the maximum authorized amount at $10,536,362.50. On

             that same date, the AUTHORITY signed a Second Amendment to the Promissory Note (“Allonge”) in

             order to incorporate the said amendments.

                     WHEREAS: On January 31, 2014, the BANK and the AUTHORITY signed a Third Amendment

             to the Loan Agreement in order to extend the due date and repayment of accrued interest until January 31,

             2015. On that same date, the AUTHORITY signed a Third Amendment to the Promissory Note (“Allonge”)

             to incorporate the said amendments.

                     WHEREAS: On December 31, 2014, the principal balance of the CREDIT LINE totals

             $9,869,606.01 with accrued interest for the amount of $891,861.66.

                     WHEREAS: The BANK’s management has recommended to amend the CREDIT LINE for the

             purpose of extending the expiration of the CREDIT LINE until January 31, 2016.

                     WHEREAS: The Board of Directors of the BANK has authorized by Resolution No. 10554

             adopted at a meeting held on December 17, 2014 (“Resolution 10554”), to amend the LOAN

             AGREEMENT for purposes of extending the expiration date until January 31, 2016 and to request the

             payment of professional fees for financial consultancy, among other terms and conditions.



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                     WHEREAS: In accordance with Resolution No. 2015-07 adopted on January 15, 2015 by the

             Board of Directors of the AUTHORITY, the AUTHORITY accepted the terms and conditions set forth by

             the BANK for this amendment.

                     THEREFORE, in consideration of the facts confirmed above, and of the representations,

             approvals and guarantees set forth below, the parties that appear:

                                                     APPROVE AND AGREE

                     FIRST: The parties agree to extend the expiration date of the CREDIT LINE and to include the

             income assigned to the AUTHORITY under Laws [sic] Number 30 and 31 of June 15, 2013 as a source of

             additional payment of the obligation. As a consequence, Section 1.3 of Article 1 of the LOAN

             AGREEMENT, as amended, is amended to read as follows:

                     “The CREDIT LINE plus capitalized interest shall be payable on January 31, 2016. The
                     source of payment shall be future issuances of bonds and income from future private-public
                     alliances as well as own income, including income assigned under Laws Number 30 and
                     31 of June 25, 2013, which are assigned and obligated in favor of the BANK by the
                     Assignment and Security Agreement signed on August 28, 2013 between the BANK and
                     the AUTHORITY.”

                             SECOND: The AUTHORITY acknowledges, accepts and agrees to pay the BANK

             professional fees for financial consultancy services equal to one twenty-fifth (1/25) of one percent (1%),

             for a total of Four Thousand Two Hundred Fourteen



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             Dollars and Fifty-Five Cents ($4,214.55) corresponding to this transaction and in accordance with the

             policy of the BANK in effect.

                     THIRD: On this same date, the AUTHORITY signs and issues a document entitled FOURTH

             AMENDMENT TO THE PROMISSORY NOTE (“ALLONGE”). This ALLONGE shall be made to form

             a part of the original PROMISSORY NOTE signed by the AUTHORITY, as amended, for the purpose of

             incorporating the agreements and amendments set forth herein.

                     FOURTH: This FOURTH AMENDMENT TO THE LOAN AGREEMENT and its ALLONGE

             do not constitute a novation of the obligations of the AUTHORITY under the LOAN AGREEMENT and

             PROMISSORY NOTE, as amended. Any of the other terms and conditions of the LOAN AGREEMENT

             and the PROMISSORY NOTE, as amended, that do not violate the provisions herein shall remain

             unchanged and in full effect.

                     FIFTH: The President of the BANK, the Executive Vice President of Financing and any other

             executive vice president, is authorized to channel the funds and income of the AUTHORITY corresponding

             to Laws 30 and 31 of June 25, 2013 for the repayment of the current financing and any other amounts that

             the BANK collects for pending obligations of the AUTHORITY.

                     SIXTH: The Executive Director of the AUTHORITY and the Secretary of the Department of

             Transportation and Public Works shall make a presentation to the Board of Directors of the BANK on the

             finances of the AUTHORITY and the progress

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             of the implementation of its medium and long-term plans to quickly and effectively manage the fiscal

             situation of the AUTHORITY, in addition to the new income previously legislated. This presentation shall

             be carried out prior to any disbursement by the BANK if any funds still remain available under the CREDIT

             LINE.

                     SEVENTH: This FOURTH AMENDMENT TO THE LOAN AGREEMENT is signed in

             accordance with Resolution 10554, which was approved as a statement of intent under U.S. Treasury

             Department Regulation Section 1.150-2.



                                            [SIGNATURES ON THE NEXT PAGE]




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        IN WITNESS WHEREOF, the parties who appear grant this FOURTH AMENDMENT TO

THE LOAN AGREEMENT, in San Juan, Puerto Rico, on May [hw:] 20, 2015.



 BANCO GUBERNAMENTAL DE                              HIGHWAYS AND TRANSPORTATION
 FOMENTO PARA PUERTO RICO                            AUTHORITY OF PUERTO RICO

         [signature]                                        [signature]
 Jorge A. Clivillés Díaz                             Carmen A. Villar Prados
 Executive Vice President                            Executive Director
 and Fiscal Agent

Statement [hw:] 739

        Acknowledged and signed before me by Jorge A. Clivillés Díaz, adult, married, and resident of San
Juan, Puerto Rico, in his capacity as Executive Vice President and Fiscal Agent of the Banco
Gubernamental de Fomento para Puerto Rico, and by Carmen A. Villar Prados, adult, married and resident
of Guaynabo, Puerto Rico, in her capacity as Executive Director of the Highways and Transportation
Authority of Puerto Rico, whom I know personally.
        In San Juan, Puerto Rico, on May [hw:] 20, 2015.
 [stamp:] BELEN
 FARNARIS ALFARO
 PUERTO RICO                EXEMPT FROM PAYMENT OF STAMP TAX
 ATTORNEY-NOTARY
                            LAW 47 OF JUNE 4, 1982                                    [signature]
                                                                                      Public Notary




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DATE OF TRANSLATION:                  23-Aug-21
ELECTRONIC FILE NAME:                 September 12, 2012 Agreement


SOURCE LANGUAGE:                      Spanish
TARGET LANGUAGE:                      English
TRANSPERFECT JOB ID:                  US1061278

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